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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


     UNITED MARINE MARKETING                    )    Case No.: 8:10-cv-2653-T-35TBM
     GROUP, LLC,                                )
                                                )
             Plaintiff,                         )
                                                )
     v.                                         )    DEFENDANTS’ BRIEF IN
                                                )    OPPOSITION TO MOTIONS TO
     JET DOCK SYSTEMS, INC., et al.,            )    QUASH SUBPOENAS
                                                )
             Defendants.                        )
                                                )


                                          I. Background
            On December 12, 2013, the Court issued an Order (ECF 130) notifying the

     parties that it would convene an evidentiary hearing regarding inventory and

     equipment transferred to plaintiff United Marine. The two people with the most

     knowledge regarding this issue are Roy Ahern and Bruce Nelson, the two original

     managing members of United Marine.


            Accordingly, defendants filed a Request for Hearing Date and Motion to

     Permit Use of Depositions (ECF 133), noting that they were attempting to secure for

     use at the evidentiary hearing testimony from these two witnesses who respectively

     reside in Wisconsin and Minnesota. On January 2, 2014, the Notices of Deposition of

     Roy Ahern and Bruce Nelson were electronically served upon plaintiff United

     Marines’ counsel who, coincidentally, also represented Mr. Ahern for several years in

     patent litigation with the defendants (see Exhibit 1). Proofs of service of the


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     subpoenas upon on Messrs. Ahern and Nelson were additionally emailed to plaintiff

     United Marine’s counsel on January 6, 2014 with reconfirmation of the times, dates

     and places of the depositions (Exhibit 2).


            In an effort to avoid a discovery dispute, counsel for defendants sent plaintiff

     United Marine’s counsel an email on January 7, 2014 asking if plaintiffs were

     available for depositions on January 10, 2014 and (if not) to provide other convenient

     dates. Counsel for plaintiff responded by contending that he had not been notified of

     the depositions and that he had not yet seen the subpoena served upon Mr. Nelson,

     despite the contrary evidence attached hereto as Exhibits 1 and 2. Nevertheless, on

     January 7 and 9, 2014, counsel for defendants again requested mutually convenient

     times, dates and places for the depositions needed to secure testimony on the subjects

     raised by the Court in the December 12, 2013 Order (Exhibit 3).


            While the foregoing communications were occurring, Mr. Ahern filed a

     Motion to Quash the subpoena that he had received.


            The efforts of counsel for plaintiffs (Vytas Rimas) and Mr. Ahern to avoid

     producing documents and testimony regarding inventory and equipment to plaintiff

     United Marine are not surprising. Indeed, Mr. Rimas has on several prior occasions

     been admonished by U.S. District Judge John Adams (see Exhibit 4 hereto) and Mr.

     Ahern has been severely sanctioned by the same Judge for withholding information.

     Their ongoing attempts to “hide the ball” and “stay a step ahead of the Sheriff” should

     not be countenanced by this Court and the depositions of Messrs. Ahern and Nelson

     should be ordered to proceed forthwith.

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                                         II. Roy Ahern


            Mr. Ahern has raised twelve (12) objections to the subpoenas he received and

     those objections will be addressed in the order in which they were presented:


        1. Mr. Ahern contends that the subpoena issued by this court violates Rule 45

            because Mr. Ahern lives in Wisconsin. However, Rule 45 was amended to

            permit nationwide service and expressly requires that “A subpoena must issue

            from the Court where the action is pending.” Fed.R.Civ.P.45(a)(2) and (b)(2).


        2. Mr. Ahern contends that the subpoena seeks discovery beyond the Court’s

            September 28, 2012 deadline; however, the subpoena does not seek discovery.

            Rather, the subpoena seeks hearing testimony on res judicata issues referenced

            by the Court in its December 2013 order, which issues are to be addressed in

            an upcoming evidentiary hearing.


        3. Mr. Ahern would like more time to comply with the subpoena. Defendants

            have no objection to a postponement of the deposition so long as it goes

            forward before the upcoming evidentiary hearing.


        4. Mr. Ahern objects to the subpoena contending that it contains document

            requests which are “vague” or “ambiguous”; however, he fails to explain how

            requests for ordinary records are unclear. He contends that this is particularly

            so even though he is not an employee of a party; however, he was an original

            managing member of plaintiff United Marine, has continued to provide

            consulting services for United Marine and has been engaged in years of patent


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            litigation with defendants which resulted in summary judgment in favor of

            defendants, the issuance of preliminary and permanent injunctions and a

            damage award against Mr. Ahern in a sum exceeding $15 million, all while he

            was represented by Vytas Rimas, United Marine’s current counsel.


        5. The deposition is not expected to take more than two (2) hours. Moreover, the

            deposition is scheduled to occur in Hudson, Wisconsin (where Mr. Ahern

            resides) so no mileage payment is required.


        6. Since Mr. Ahern was a managing member of United Marine, provides

            consulting services to it and is aligned with United Marine he should not be

            compensated for his time.


     7-12. The final five (5) objections raised by Mr. Ahern consist of pure “boiler

            plate” language, are not supported in any way and should be rejected

            because defendants are merely seeking testimony for use at an evidentiary

            hearing on the issues raised by the Court concerning the relationships between

            among Mr. Ahern, ERA Marine and United Marine.


                                        III. Bruce Nelson


            Plaintiffs and their counsel have indicated that they are not available for a

     deposition of Mr. Nelson on January 10, 2014. Accordingly, defendants are

     attempting to schedule the deposition at a time that is convenient for United Marine

     and its’ counsel (Exhibit 3).




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                                                      Respectfully submitted,


                                                      /s/ F. Thomas Vickers
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                                                      LOCAL COUNSEL FOR
                                                      DEFENDANTS

                                            Certificate

               Counsel for defendants certifies that he has communicated with counsel for

     plaintiffs (see Exhibit 3) in an ongoing good faith effort to resolve issues set forth

     herein.

                                                      /s/ F. Thomas Vickers
                                                      F. Thomas Vickers
                                                      Trial Counsel for Defendants




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                                 CERTIFICATE OF SERVICE


            I hereby certify that on the 9th day of January, 2014, I electronically filed the
     foregoing with the Clerk of the Court by using the CM/ECF system. Notice of this
     filing will be sent to all counsel of record registered to receive electronic service by
     operation of the Court’s electronic filing system.


            I hereby certify that on the 9th day of January, 2014, I electronically filed the
     foregoing with the Clerk of the Court by using the CM/ECF system and notice was
     delivered by other means to: Roy Ahern, 1120 Front Street, Hudson, WI 54016


                                                      s/ F. Thomas Vickers
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